                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF COLORADO



Civil Action No. 1:24-cv-1508

COLTON JOHN HARRIS,

        Plaintiff,

v.

TAKE-TWO INTERACTIVE SOFTWARE, INC.,

a Delaware corporation,

        Defendant.




                                       Notice Of Resubmission




To the Clerk of Court and All Parties:


        Please be advised that the Plaintiff, Colton John Harris, is resubmitting the Plaintiff’s

Motion to Appoint Counsel with the corrected date. The initial submission contained an incorrect

date due to a clerical error.



Thank you for your understanding.
Respectfully submitted,




Colorado Springs, CO 80907

Email: thecoltonjohn@gmail.com

Date: [7-13-2024]
